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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11 (Subchapter V)
                                                                     )
    FREE SPEECH SYSTEMS LLC,                                         ) Case No. 22-60043 (CML)
                                                                     )
                              Debtor.                                )
                                                                     )

                  RESERVATION OF RIGHTS OF THE
             SANDY HOOK FAMILIES WITH RESPECT TO THE
     EMERGENCY MOTION OF ALEXANDER E. JONES TO FIX A DATE BY
     WHICH DEBTOR MUST ASSUME OR REJECT EXECUTORY CONTRACT

             1.     The Sandy Hook Families, 1 as creditors and parties in interest in the

above-captioned         chapter 11        case,    hereby     submit     this   reservation     of rights

(this “Reservation of Rights”) in response to the Emergency Motion of Alexander E. Jones

to Fix a Date by Which Debtor Must Assume or Reject Executory Contract

[Docket No. 349] (the “Motion”).

             2.     The Sandy Hook Families obtained multiple judgments in the aggregate

amount more than one-and-a-half billion dollars through lawsuits against Free Speech

Systems, LLC (the “Debtor”), among others, in both Texas and Connecticut. The Sandy

Hook Families are—by far—the largest creditors in this chapter 11 case.

             3.     The Sandy Hook Families take no position on Mr. Jones’ Motion to the

extent it merely requests that the Court fix a date by which the Debtor must either assume


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         The individual plaintiffs that, together, comprise the “Sandy Hook Families” are Mark Barden,
         Jacqueline Barden, Francine Wheeler, David Wheeler, Ian Hockley, Nicole Hockley, Jennifer Hensel,
         William Aldenberg, William Sherlach, Carlos M. Soto, Donna Soto, Jillian Soto-Marino, Carlee Soto
         Parisi, and Robert Parker, who are plaintiffs in the Connecticut litigation
         (together, the “Connecticut Plaintiffs”), and Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique
         De La Rosa, and Marcel Fontaine, who are plaintiffs in the Texas actions
         (together, the “Texas Plaintiffs”).
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or reject the employment agreement that the Debtor purportedly executed with Mr. Jones

on or about April 14, 2022 (as may be modified from time to time,

the “Employment Agreement”).

         4.      The Motion, however, improperly asks the Court to do more than just fix a

date by which the Debtor must decide whether to assume or reject the Employment

Agreement. For example, the Proposed Order conflates the issue of fixing a decision date

with the actual assumption of the Employment Agreement itself, thereby suggesting that—

should the Debtor determine to assume the Employment Agreement—then such

assumption would be effective on January 31, 2023, and that the Debtor must cure prior

defaults and provide adequate assurance of future performance at such time.

See Proposed Order ¶ 3.

         5.      Based on the extremely limited information currently available, the Sandy

Hook Families oppose the Debtor’s assumption of the Employment Agreement.

         6.      More fundamentally, whether the Debtor elects to assume the Employment

Agreement is not an issue before the Court, because no party has properly presented that

question to the Court. If the Debtor elects to pursue assumption of the Employment

Agreement, it must file a motion seeking permission to do so from the Court and setting

forth the bases for such assumption.       The Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”) require that the Debtor—in the event it wishes to assume or reject

any executory contract or unexpired lease—must seek permission from the Court to do so

via     motion     with   reasonable    notice   and    opportunity    for    a   hearing.

See Fed. R. Bankr. P. 6006(a), 9014(a).




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       7.      If the Debtor files such a motion, then the Sandy Hook Families will

respond based on the legal arguments and factual record set forth therein, as well as any

discovery produced in connection therewith. But neither Mr. Jones nor the Debtor should

be permitted to short-circuit the procedural safeguards set forth in the Bankruptcy Rules

by assuming the Employment Agreement without the filing of an assumption motion with

due notice to the Debtor’s creditors.

       8.      For the avoidance of doubt, the Sandy Hook Families reserve their rights to

amend or supplement this Reservation of Rights on any basis and reserve all rights and

remedies with respect to the Employment Agreement and otherwise in this chapter 11 case.




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Dated: December 30, 2022

                                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Reservation of Rights has been
served on counsel for Debtor, Debtor, and all parties receiving or entitled to notice through
CM/ECF on this 30th day of December 2022.


                                              /s/ Ryan E. Chapple
                                              Ryan E. Chapple
